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                                                   U.S. Department of Justice
                                                   United States Attorney
                                                   Southern District of Ohio
                                                   303 Marconi Blvd           Telephone: 614-469-5715
                                                   Suite 200                  Fax: 614-469-5653
                                                   Columbus, OH 43215


                                                   February 13, 2024


By Regular U.S. Mail & Certified Mail No. 7019 1640 0001 1131 9943
Diamonte N. Jakam Mock
3965 Cracker Cove Ln.
Canal Winchester, Ohio 43110

       RE:     United States v. Tomas Hailemariam
               Criminal Case No. 2:22-cr-109

Dear Mr. Mock:

        The United States District Court for the Southern District of Ohio, Eastern Division, has
ordered that certain property be forfeited to the United States. Enclosed, please find a copy of the
Preliminary Order of Forfeiture entered in the above-referenced case which describes the property
subject to forfeiture and the intent of the United States to dispose of the property.

       Based on a review of firearm trace records held by the Bureau of Alcohol, Tobacco,
Firearms, and Explosives, the United States is aware that previously you purchased the Smith &
Wesson-manufactured, model M&P 15-22P, .22 caliber, semi-automatic firearm, bearing serial
number WAK6917, that is subject to forfeiture in this case.

        You are hereby given notice of this forfeiture and of your right to assert an interest in the
property subject to forfeiture. This notice letter is intended only to inform you of your rights.
Service of this notice letter in no way is intended to imply that the United States believes that you
have a valid interest in the forfeited property or that you may legally possess the forfeited property.

         If you wish to assert a legal interest in the property which has been ordered forfeited to the
United States, you may, within thirty (30) days of your receipt of this notice letter, petition the
United States District Court for the Southern District of Ohio, Eastern Division, for a hearing to
adjudicate the validity of your alleged interest in the property. The procedure for filing a petition
is set forth more fully in Title 21, United States Code, Section 853(n). In accordance with Title
21, United States Code, Section 853(n), the petition shall be signed by the petitioner under penalty
of perjury and shall set forth the nature and extent of the petitioner’s right, title or interest in the
property, the time and circumstances of the petitioner’s acquisition of the right, title or interest in
the property, any additional facts supporting the petitioner’s claim, and the relief sought.




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Direct Notice
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United States v. Tomas Hailemariam
2:22-cr-109



        Your petition must be filed in the above case name and number with the United States
District Court, c/o Office of the Clerk, 85 Marconi Boulevard, Columbus, Ohio 43215. You must
also send a copy of the petition and any other document you file with the Office of the Clerk to
Kenneth L. Parker, United States Attorney, Attention: Asset Forfeiture Unit, 303 Marconi
Boulevard, Suite 200, Columbus, Ohio 43215.

        If you do not wish to assert an interest in any of the property identified for forfeiture
in this case and described in the Preliminary Order of Forfeiture, no action is necessary.
Please be aware that failure to file a petition within 30 days of receipt of this direct notice
will result in the property being forfeited to the United States.

                                                 Very truly yours,

                                                 KENNETH L. PARKER
                                                 United States Attorney




                                                 S. COURTER SHIMEALL
                                                 Assistant United States Attorney

Enclosure
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Attorney's office
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